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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

UNITED STATES OF AMERICA,

            Plaintiff,

v.                                          Criminal Case No. 17-20515
                                            Honorable Linda V. Parker
TREVOR HAYWARD,

          Defendant.
______________________________/

     OPINION AND ORDER DENYING DEFENDANT’S EMERGENCY
             MOTION FOR COMPASSIONATE RELEASE

      Defendant Trevor Hayward is serving a 78-month sentence after pleading

guilty pursuant to a Rule 11 Plea Agreement to one count of Intent to View Child

Pornography in violation of 18 U.S.C. § 2252A(a)(5)(B). The Court sentenced

Defendant on November 28, 2018 and a Judgment was entered December 11,

2018. Defendant previously filed a Motion for Compassionate Release pursuant to

18 U.S.C. § 3582(c) (ECF No. 51), which this Court denied on June 17, 2020 (ECF

No. 56). Defendant filed a renewed motion for compassionate release on

September 23, 2020, which he labels as an emergency motion. (ECF No. 57.) In

the motion, Defendant alternatively “requests language from this Court opining on

whether the Bureau of Prisons should consider release. (Id.) The Government

opposes Defendant’s requests. (ECF No. 62.)
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      The Court denied Defendant’s first motion for compassionate release

because he failed to satisfy the burden of showing that his medical condition

placed him at heightened risk of a severe outcome if he contracts COVID-19.

Defendant has done nothing more to satisfy his burden in his renewed motion.

“Courts have consistently held that ‘the mere existence of COVID-19 in society

and the possibility that it may spread to a particular prison alone cannot justify

compassionate release.” United States v. Alqsous, No. 1:16-cr-329-2, 2020 WL

3402861, at *5 (N.D. Ohio 2020) (quoting United States v. Raia, 954 F.3d 594,

597 (3d Cir. 2020)).

      Moreover, the Court finds that Defendant’s release poses a danger to society.

U.S.S.G. § 1B1.13(2). Defendant’s current conviction arose from the live video

stream of an eight-year old girl exposing her genitals. An examination of

Defendant’s computer uncovered twelve videos of child pornography.

      For these reasons, the Court concludes that Defendant should not be released

pursuant to 18 U.S.C. § 3582(c)(1)(A) and it DENIES his motion (ECF No. 57).

The Court therefore also denies Defendant’s request for language opining on how

the Bureau of Prisons should handle his case.

      IT IS SO ORDERED.

                                                s/ Linda V. Parker
                                                LINDA V. PARKER
                                                U.S. DISTRICT JUDGE
Dated: November 2, 2020
